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January 18, 2019

SENT VIA E-MAIL

Robert Quinn
Assistant Corporation Counsel
65 Niagara Square
Room 1100
Buffalo, NY 14202
(716) 851-4326
rquinn@city-buffalo.com

RE: Black Love Resists, et al. v. City of Buffalo, et al., No. 18-cv-719 (W.D.N.Y.) –
Conferral Regarding Discovery Issues

Dear Rob:
I write regarding the Parties’ ongoing conferral with respect to Plaintiffs’ First Set of Requests
for Production of Documents and First Set of Interrogatories (the “Requests”). We appreciate the
time you have taken to confer with us, and we had believed we were making progress in these
discussions, but you have yet to supplement your production as you have repeatedly promised.
Below we summarize our concerns and our understanding of the parties’ current positions. We
will be raising Defendants’ noncompliance with discovery obligations in our letter to the court
next week.
The Course of Dealings between the Parties
Since Plaintiffs served the Requests on November 5, 2018, we have attempted in good faith to
confer with you about these matters as required by the local rules. At Plaintiffs’ request, the
Parties met by telephone on November 8 to discuss Plaintiffs’ expectations regarding the likely
sources where discoverable information may exist and Defendants’ methodologies for searching
for this information. We continued this conferral on November 26. During these two initial calls,
you declined to provide any details about Defendants’ search methodologies. Plaintiffs
nonetheless went through each of the Requests for Production and explained the types of
documents and electronically stored information (ESI) sought. Plaintiffs also offered to propose
search terms and other narrowing methods to ensure that the intent of Plaintiffs’ Requests is
fulfilled while minimizing the burden to Defendants. You stated that you believed it would be
more productive to continue the conversation following Plaintiffs’ receipt of Defendants’
Responses and Objections to the Requests (“Responses”).

On December 5, 2018, Defendants served Responses. Unfortunately, the Responses contained
very little information and no production of ESI. The only documents produced consisted of
materials previously produced to Plaintiffs’ counsel via the New York Freedom of Information

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Law (FOIL) and copies of the Police Department Rules and Regulations and Manual of
Procedures.

We had agreed to resume our conversation on December 11. Unfortunately, and without notice
to us, you did not call in to our December 11 conference call, and we had to reschedule to
December 14, only one week before the Parties’ first teleconference with the Court. We
continued our conferral on December 19. During those calls, you promised to supplement your
production the following week.

On December 21, the parties had an initial conference with the Court, during which Plaintiffs
raised concerns with your production so far, and you represented that you would soon
supplement your production. The Court declined to intervene at that time, but directed the Parties
to contact the Court within 30 days about any unresolved issues. Following the conference, you
failed to supplement your production as promised.

On January 4, the parties continued their conferral. During this conversation you stated that you
had an upcoming trial, but that you had secured additional staff from your office to assist you in
meeting discovery obligations. You again promised to supplement your responses as discussed
in more detail below. As of the date of this letter, however, Plaintiffs have still not received any
additional materials from Defendants since your initial limited December 5 production..

Defendants’ Inadequate Search for Electronically Stored Information
As you know, Plaintiffs have serious concerns about the sufficiency of Defendants’ search for
ESI. Local Rule 26(e)(3) requires the parties to confer regarding ESI, including the “method of
searching, and the words, terms, and phrases to be searched” as well as “any restrictions as to
scope and method which might affect their ability to conduct a complete electronic search of the
ESI.” To minimize undue expense, the Rule encourages parties to “consider limiting the scope of
the electronic search” by such means as identifying specific time frames, fields, or document
types.

Plaintiffs have raised this issue during every meet and confer. Consistent with the Local Rules,
we have asked you to provide information about the custodians you have searched and the search
terms you have used, but you have not provided this information, nor have you produced any
ESI. Although you have represented that your search for ESI is “ongoing,” you have not
provided any detailed information about your search process. During our last call, we asked you
to, at minimum, provide us with a written statement of the custodians searched and search terms
used so far. You promised to provide this information but have not done so.

You have asserted that, due to a lack of resources, you need to maintain a rolling search and
production process. Plaintiffs do not object to a rolling process, but you have thus far produced
little more than documents Plaintiffs’ counsel had already obtained from you through FOIL
litigation preceding this lawsuit and have repeatedly declined to share any specific information


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about your search process, methodology, and timing, leading us to question whether any search
is in fact underway.

Because you have not followed through on your commitment to provide more detailed
information on your search process and methodology (including for each Request the custodians
searched, search terms used, whether those searches have produced results, and when you expect
to make a supplemental production), Plaintiffs intend to ask the court to order Defendants to
provide this information in writing by a date certain.

Defendants’ Inadequate Answers to Interrogatories
During our conferrals, Defendants promised to supplement their Responses to a number of
Interrogatories. However, Defendants have not provided the promised information. The Parties
also identified some areas of conflict that will require court intervention.
Interrogatory No. 9: This Interrogatory seeks information about certain electronic databases in
Defendants’ possession that contain data Plaintiffs need to support their claims. We sought the
data itself in Requests for Production 24-26 and 29-30, but you claimed possible technical
barriers to producing this data. Plaintiffs need the information sought in Interrogatory 9 to assess
and overcome the supposed technical barriers to production.
As we have discussed, Plaintiffs seek a listing of the tables, fields, and associational relationships
used within these databases so that the Parties may construct a query for the specific data within
these databases that Plaintiffs need. Defendants have not provided this information and have
raised no valid objections to its production. Plaintiffs also asked you to identify the person(s)
most knowledgeable about Defendants’ databases so that we may depose them if necessary.
During our last call you stated that you had identified the person most knowledgeable, but that
this person had retired. You could not identify current employees with knowledge of the
databases, but you stated that you were continuing to inquire. You also stated that you had had
discussions with the State to explore whether the State could provide the information Plaintiffs
seek. Plaintiffs stated their belief that obtaining information through the State would cause
significant, unnecessary delays and that Defendants have access to the same information and can
produce it faster. You stated that you were continuing to investigate and asked for more time. We
asked to you share the information you had gained so far in an email, and you agreed to do this,
but you have not yet sent us this information several weeks later.
As you have not responded to Interrogatory 9 despite our many conferrals on this topic, Plaintiffs
intend to seek permission from the court to conduct a 30(b)(6) deposition regarding the relevant
electronic databases, without the deposition counting against our total deposition limit or the
seven-hour time limit imposed for substantive 30(b)(6) depositions. We believe this is the most
efficient way of getting the information we need. Please advise whether you consent to this
proposal.

Interrogatory No. 1: This Interrogatory requests Defendants to Identify each person who has
worked as part of the Strike Force or Housing Unit and provide their Employment History (a

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defined term consisting of a “person’s date of hire; the names and dates of all positions held; the
date and basis of any discipline received; and the date and basis of their separation (where
applicable)”). Defendants objected on several grounds, including breadth, burden, and relevance,
and, rather than identify specific names of persons, only provided the number of police officers
who “made up” each unit. During our recent calls, you explained that you are primarily
concerned with the “breadth” of this Interrogatory’s request for “Employment History” as it
could require production of “everything” with respect to the identified officers. As we have
explained during our recent calls, this objection itself is overbroad and mischaracterizes the
request, which is narrowly defined and does not seek documents. Each of these officers is a
potential witness, and Plaintiffs are entitled to know who they are, as any of these officers could
lead to the discovery of admissible evidence.

Following our conferral, you agreed to provide the names of the officers who have worked as
part of each unit, but you objected to providing those aspects of the “Employment History” that
may arguably include confidential information. Other aspects of Employment History, such as
the person’s dates of employment with the BPD, however, do not include confidential
information and are relevant and important to Plaintiffs. Plaintiffs ask that you supplement your
answer to this Interrogatory to provide all the requested information, including name, contact
information and current employer (if known) as well as those aspects of the Employment History
to which you do not object. To the extent that you object to disclosing certain subparts of the
“Employment History” please state the grounds for those objections with specificity so that
Plaintiffs may respond.
Interrogatory No. 2: This Interrogatory requests that Defendants identify all individuals who
signed the Traffic Safety Checkpoint Tally Sheets and Roadblock Directives, because the
signatures on the forms themselves are illegible. You agreed to provide this information but have
not done so.
Interrogatory No. 3: This Interrogatory requests Defendants to identify each person involved in
drafting or approving the directive on Checkpoints referenced in paragraph 38. Defendants have
objected on various grounds, including breadth, burden, and relevance, and have generally
referred to the named Defendants as responsive to this Interrogatory. During our December 19
call, we requested you to be more specific, but you responded that you were “unaware of other
individuals” who were involved in this process. Please confirm (a) which named Defendants
were involved in drafting or approving the directive on Checkpoints referenced in paragraph 38;
and (b) that no other individuals not named as Defendants had any such involvement.
Interrogatory No. 4: This Interrogatory requests Defendants to identify the persons responsible
for determining the location of each Checkpoint identified in documents responsive to Request
Nos. 17-19 of Plaintiffs’ First Set of Requests for Production of Documents. Defendants have
raised a number of objections, including breadth, burden, and relevance, and have provided a
general response that the locations “may have” been chosen by the named Defendants or the
individuals listed on various Checkpoints Forms, and that “upon information and belief” the


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locations may have been based on various listed factors. Plaintiffs believe this response is
deficient and insist that Defendants’ Response be more specific.
Interrogatory No. 8: This Interrogatory requests Defendants to describe training provided to
BPD personnel regarding various specifically identified topics, and to identify the individuals
responsible for such training. Defendants have raised a number of objections and have responded
by directing Plaintiffs to the BPD “Manual of Procedures” and identifying a non-party individual
who is the Director of the Police Training Academy at the Erie Community College North
Campus. Defendants state that various other formal and informal training activities occur, but do
not provide specific information such as who receives and/or oversees this training, how the need
for it is determined, how it is logged, or how it is structured and provided. During our recent
conferral, we requested you to provide additional specifics, but you continued to object on
burden grounds. You stated that generally it is the Lieutenants that make these determinations,
but, beyond providing us with the name of a former BPD training captain (Patrick Mann), you
were unable to identify any specific person within the BPD who is responsible for overseeing the
training on these issues. You further responded that the response may vary depending on the type
of training or unit. Plaintiffs believe this response is deficient, and insist that Defendants’
Response be more specific, as requested. In addition, to address your burden objection, Plaintiffs
are willing to narrow the scope of this interrogatory to include only classroom, video, online, roll
call and field training provided to police recruits and incumbent officers on each of the topics
listed in the interrogatory.
Plaintiffs’ First Set of Requests for Production
We have also discussed Defendants’ responses to Plaintiffs’ Requests for Production. Below we
summarize Plaintiffs’ understanding of these discussions.
First, we note that in many responses, Defendants stated that they are “not aware of” information
that may be responsive to Plaintiffs’ requests. As a result, we would like Defendants to confirm
and, if necessary, amend their responses to expressly indicate when no documents exist that are
responsive to Plaintiffs’ requests. We expect that Defendants will have conducted and completed
a thorough search for potentially responsive documents and will be prepared to state accurately
that no such documents exist.
Request Nos. 1-8: These requests seek information relating to the creation and purpose of the
Strike Force, Housing Unit, and the Buffalo Traffic Violations Agency (“BTVA”), Defendants’
decision to establish and conduct checkpoints, and Defendants’ decision to end the Strike Force
Unit. Thus far, you have only produced the Buffalo Police Department (“BPD”)’s “Manual of
Procedures” and “Rules and Regulations,” as well as the BTVA’s 2017 Annual Report. In recent
calls, Plaintiffs expressed their concern that Defendants have not adequately searched for
responsive information and explained that we believe there are many more sources where such
responsive information may exist. You represented that your search for responsive documents is
ongoing and that further responsive documents would be produced in forthcoming productions.
We look forward to receiving these documents and we request an update on your search
progress.

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Request No. 9: This Request seeks documents and communications consulted by the BPD to
determine the physical location of each Checkpoint or Group of Checkpoints. Defendants have
produced “Traffic Safety Checkpoint Tally Sheets and BPD Roadblock Directives, both of which
document the location of Checkpoints but do not provide any information about documents or
communications consulted by BPD in deciding those locations. Defendants have otherwise
objected. This response is inconsistent with Defendants’ response to Interrogatory No. 4, which
states that Checkpoint locations are chose in part based on “citizen complaints, and other
information regarding traffic safety and motor vehicle accidents, all of which are analyzed to
determine the chosen checkpoint locations.” Plaintiffs expect that Defendants will produce the
documents containing this information that BPD considered in determining the location of
checkpoints. Further, Plaintiffs have clarified that they seek only those documents that were
actually considered by BPD personnel in selecting locations of checkpoints, which should
narrow the universe of responsive documents.
Request Nos. 10-16: These Requests seek various completed forms utilized by Defendants in
tracking the monthly, weekly, and daily activities of BPD personnel within specific units,
including the Strike Force, Housing, and Traffic Enforcement Units. In Response, Defendants
have provided only Monthly Housing Unit Statistics forms. During our recent conversations,
Plaintiffs stated that they are aware of additional forms (some of which appear to be
electronically stored) and sent you an example of such a form. You responded that you would
inquire further as to the existence of further responsive documents. We have not received any
update from you regarding your search for these forms.
Request No. 19: This Request seeks documents recording information relating to other types of
checkpoints conducted by the BPD (e.g. DUI checkpoints). During our last conversation you
stated that you were not certain whether BPD has any documents that record this information as
to other checkpoints but that you would let us know. We have not received any update from you
regarding this inquiry.
Request Nos. 20-21: These Requests seek documents containing information relating to the
activities of officers assigned to the Strike Force and Housing Units. Defendants’ response only
raises objections and does not state that Defendants will be providing any documents in
response, or undertaking further searches for responsive documents. Plaintiffs believe this
response is deficient, and during our calls we discussed ways to narrow the universe of
documents that may be responsive to this request. During our last conversation, you stated that
you were in the process of gathering additional information regarding reporting from the Strike
Force and Housing Unit and that you would inform us of the specific types of reports that are
available so that Plaintiffs can prioritize collection and production of those most relevant. You
have not yet provided us this additional information and we ask that you do so as soon as
possible.
Request No. 22: This Request seeks documents and communications concerning the criteria
used to evaluate the performance of Housing Unit and Strike Force officers. During our
conversations, you stated that there are no formal performance evaluations of BPD officers. We
explained that we believe that the Collective Bargaining Agreement (CBA) has provisions

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governing personnel evaluations and would be responsive. You said that you had obtained the
CBA and that it would be produced. We have not yet received this production. You also
explained that there isn’t a “different” evaluation process for Strike Force and Housing Unit
officers. In response, we explained that the Request should therefore be interpreted to seek
documents and communications concerning any criteria that are applied to officers within these
units, even if such criteria apply to other personnel within BPD. We look forward to an update
on the status of your search for further responsive documents.
Request No. 23: These Requests seek documents relating to the evaluation of BPD personnel,
including BPD policies and procedures as well as officer-specific evaluations for officers
assigned to the Strike Force and Housing units. Defendants have objected based on various
grounds, including New York Civil Rights Law 50a. As we have explained, Plaintiffs believe
these issues can be addressed through the Parties’ proposed confidentiality stipulation and order,
discussed above, and look forward to concluding our discussions regarding that order. You stated
that a search for responsive documents was underway. We would like an update on the status of
this search as soon as possible.
Request Nos. 24-25: These Requests seek electronic data in Defendants’ possession, custody, or
control relating to activities at each Checkpoint conducted by Defendants and Defendants’
enforcement of the Vehicle and Traffic Laws. As noted above, because you have stated your
belief that obtaining data from these systems will be burdensome, in Interrogatory No. 9
Plaintiffs have requested you to provide certain information about the databases, including a
listing of the tables, fields, and associational relationships used within them, so that Plaintiffs
may construct specific queries to retrieve data relevant to the claims and defenses raised by the
Parties. You stated that you are intending to retrieve certain information through requests to the
State. As noted above, Plaintiffs disagree with this approach and believe it will lead to undue
delay, and have requested you to identify persons employed by the City with specific knowledge
as to database operations. Plaintiffs have also requested that you provide the contract for
Defendants’ use of the TRaCs database, which should provide some information as to
Defendants’ capabilities in operating this database. We look forward to receiving this
information as soon as possible.
Request Nos. 26, 29-30: These Requests seek all traffic tickets issued by the BPD for violation
of the New York State Vehicle and Traffic Law (NY VTL) and/or Chapter 479 of the Municipal
Code of the City of Buffalo, and all documents and communications sufficient to show the dates,
times, and locations for all reported crimes (including offense categories) and traffic accidents in
the City of Buffalo. You have repeatedly objected to these requests on the basis of relevance, and
Plaintiffs have repeatedly explained that this data is relevant because the City has asserted that it
has not operated Checkpoints for “crime control” purposes, and that it has determined the
location of Checkpoints based on “information regarding traffic safety and motor vehicle
accidents.” (See Response to Interrogatory No 4.). Plaintiffs are therefore entitled to test these
assertions.
You have also objected to providing these documents and data on the basis of breadth and scope,
asserting that this is “not [yet] a class action.” First, Plaintiffs believe Judge Reiss explained

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during our initial conferences that discovery relevant to class certification is appropriate and
should in fact be prioritized at this juncture. Second, regardless of the status of class certification,
Plaintiffs’ claims against Defendant the City of Buffalo require proof of a municipal policy or
practice, and discovery as to whether the practices alleged in the Complaint are widespread
throughout the City and BPD is therefore of central relevance to their claims. Last, Plaintiffs
have repeatedly stated their willingness to obtain work with you to construct search queries to
most efficiently obtain relevant electronically stored data regarding these Requests, but we have
been unable to suggest appropriate methods because you have not yet provided sufficient
information regarding Defendants’ databases and systems.
Requests Nos. 27-28, 31-32: These Requests seek reports or other similar data compilations
regarding Defendants’ operation of Checkpoints (including analysis of waiting times relating to
checkpoints), and issuance of Traffic Tickets. During our last call, you said you were inquiring
as to the existence of such documents. We have not yet received an update from you regarding
this inquiry and we request an update as soon as possible.
Request No. 33: This Request seeks information relating to BPD’s use of computer software to
issue traffic tickets. You have objected, in part, on your assertion that the Request calls for
production of certain unspecified “proprietary” information. During our last call, we asked you
to clarify this objection. You said you were not certain whether Defendants are under contractual
or other obligations that would prevent disclosure of certain documents or other information
pertaining to computer software utilized by BPD in its traffic enforcement, and that you were
investigating this question. We have not yet received an update from you as to this inquiry and
we request an update as soon as possible.
Request No. 34: This Request seeks documents and communications pertaining to the academic
study regarding BPD’s operation of Checkpoints that is referenced in paragraph 56 and note 7 of
the Complaint. Defendants Responses state that they are “not aware” of responsive documents.
Plaintiffs have explained their concerns with this response and their belief that responsive
documents and communications must exist, as data was clearly transmitted from the BPD to the
authors of the academic study. We have requested you to continue searching for responsive
documents and communications and we request an update on this search as soon as possible.
Request Nos. 35-40: These Requests seek documents and communications containing policies,
procedures, protocols, directives, or other similar instructions or training regarding: Defendants’
operation of Checkpoints and the selection of their locations; Defendants’ enforcement of the
NY VTL and other traffic enforcement activities; Defendants’ operation of and storage of data
related to Automatic License Plate Readers (“ALPRs”); Defendants’ compliance with
Constitutional requirements; Defendants’ policies regarding racial profiling, biased policing,
and/or the use of race in law enforcement decision-making. During our last call we asked you to
clarify your objections. You stated that the City has not withheld anything thus far, and that your
search for responsive documents is ongoing. We request you to provide an update of this search,
and to state specifically whether you have completed your search to any request and to amend
your response to state whether no responsive documents exist.


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Request Nos. 41-44: These Requests seek documents and communications relating to
comments, complaints, grievances, or concerns received by Defendants from members of the
public in relation to: alleged racial profiling, bias, or discrimination by the BPD and/or any of its
officers; BPD traffic enforcement practices; and issues relating to traffic safety. You have agreed
to produce certain data from the city’s 311 hotline, but we have not yet received this data. During
our last call, you also stated your belief that these Requests could implicate Section 50-a of the
New York Civil Rights Law. We requested you to clarify whether Defendants were objecting to
searching for responsive documents on this basis, or whether Defendants would conduct such a
search and then produce a log of responsive documents that may require some additional
protections pursuant to Section 50-a. You responded that such a search was underway and that
you would inform us whether any responsive documents exist and Defendants’ position as to
their status under Section 50-a. We request an update on this search process as soon as possible.
Request No. 47: This Request documents relating to Defendants’ receipt of federal funding. You
have not yet produced any responsive documents or communications. During our last call, we
asked whether Defendants’ would stipulate to the City’s receipt of federal funding. You said you
would investigate your clients’ position as to this proposal. We request an update on this inquiry
and your search for responsive documents as soon as possible.

Privilege Log

Your Responses included many objections grounded in various privileges. During our conferrals
you stated that in Defendants’ initial production “nothing was withheld” on the basis of any
privilege. We expect that this will likely change as Defendants continue to search for responsive
documents, and we expect that you will identify any objections to specific documents on a
privilege log. As with the document production, we would expect that the privilege log will be
provided on a rolling basis.

Confidentiality Order

During the Parties’ initial conferral pursuant to Rule 26(f), Plaintiffs raised the need for the
Parties to agree to some form of stipulated Order governing the production and handling of
confidential information. We shortly thereafter sent you a draft of such an Order, which we have
discussed during various calls over the last several months. Plaintiffs made various edits to the
draft to address certain of Defendants’ concerns. You represented that you were seeking client
approval, but you have still not provided your consent to file it. Now that Defendants have begun
producing documents, and raising objections to production based on confidentiality concerns, the
need for such a Confidentiality Order is all the more pressing. During our next call, I ask that you
identify any outstanding issues relating to the draft Confidentiality Order so that we can finalize
it, seek Court approval, and ensure that it is in place to move forward with production of any
documents to which it may apply.



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Verification of Interrogatories

Federal Rule of Civil Procedure 33(b)(5) requires responses to interrogatories to be signed by the
person responding to the interrogatories. We note that Defendants’ Responses and Objections do
not contain such a verification, and we request that Defendants promptly provide such
verification in accordance with the rules. In connection with this issue, we also expect
Defendants to amend their response to Interrogatory No. 10, which requests the identity of
persons who have provided factual information responsive to the Interrogatories.
In sum, Plaintiffs remain significantly concerned regarding the status of Defendants’ responses
to the Requests, and we plan to seek judicial intervention.
Sincerely,




Claudia Wilner




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